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                                                       U.S. Department of Justice

                                                       Channing D. Phillips
                                                       Acting United States Attorney

                                                       District of Columbia


                                                       Judiciary Center
                                                       555 Fourth St., N.W.
                                                       Washington, D.C. 20530

                                                     September 26, 2021

BY EMAIL and USAFX

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                      Re:     United States v. Stewart Parks and Matthew Baggott,
                              21 Cr. 411 (APM)

Dear Counsel:

      As preliminary discovery in this case, the materials listed below have been uploaded to
USAFx 1 for you to download. You should receive four separate USAFX invitations / links.
This material is subject to the terms of the Protective Order issued in this case.

    1. One video of United States Capitol CCTV footage. This material is designated Highly
       Sensitive pursuant to the Protective Order.




1
  Please note that USAFx is not a permanent storage system and does not retain documents or
files indefinitely. Please download these materials as soon as possible to avoid delay resulting
from having to re-upload files.
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    2. Reports from U.S. Capitol Police (“USCP”) investigations of alleged wrongdoing by
       USCP offices on January 6, 2021; 2
    3. Twenty files that are exhibits to otherwise produced USCP OPR reports (item 2), and a
       corresponding index. Any applicable sensitivity designations are reflected in the
       index. Additional exhibits will be provided on a rolling basis as we continue to ingest
       and quality-check them;
    4. Forty-two files that consist of MPD internal investigation reports and exhibits, and a
       corresponding index. These reports and exhibits are unredacted and thus designated
       Highly Sensitive under the protective order.

The discovery is unencrypted. Please contact me if you have any issues accessing the
information, and to confer regarding pretrial discovery as provided in Fed. R. Crim. P. 16.1.

        In addition, 4,044 files (over one terabyte) consisting of U.S. Capitol Police (“USCP”)
Closed Circuit Video (“CCV”) footage from 118 cameras have been shared to the defense
instance of evidence.com. The contents of footage being shared includes video from the interior
of the U.S. Capitol Visitor Center and from the Capitol grounds. These files are designated
Sensitive under the protective order. Additional footage will be provided on a rolling basis, as
we ingest it into our own instance of evidence.com.

        The Federal Public Defender for the District of Columbia (“FPD”) has agreed to serve as
the Discovery Liaison for defense counsel in Capitol Breach cases. FPD is currently reviewing
the various features of evidence.com and testing out the capabilities of the program with sample
data. Within the next two weeks, FPD will be sending out information to defense counsel that
includes a point-of-contact for discovery-related inquiries, the procedures to follow for obtaining
a license to access evidence.com, and a quick start guide for defense counsel to use with
evidence.com.

        It has come to our attention that there are sensitivities that must be addressed prior to
large scale disclosure of body-worn-camera footage. We are working diligently to resolve these
issues and in the interim we have produced a sample of fifty body-worn-camera files to FPD’s
instance of evidence.com. This sample will allow our technological teams to discuss the
necessary infrastructure and workflows that need to be implemented. Ultimately, we intend to
produce the majority of body-worn-camera footage with the least restrictive applicable
sensitivity designations, if any, in order to facilitate defendant review.



2
  Officer names, witness names, and complainant names have been redacted. We are working to
produce a set of reports that replaces the redactions with unique identifiers for individuals whose
names have been redacted. When that process is complete, we will reproduce the documents
with the unique identifiers. Additional exhibits from these investigations are forthcoming. At
this time, we understand that a small number of investigations are still on-going, and we will
provide reports of those investigations on a rolling basis as they are concluded.

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      In the near future, we expect to provide tools that will assist your review of the
voluminous video footage described above, to include:

       1. Camera maps for USCP CCV;
       2. Our work product, consisting of a spreadsheet and related zone maps, identifying
          body-worn-camera footage by agency, officer, video start time, a summary of events,
          and location of the camera in 15-minute increments; and
       3. Global Positioning Satellite information for Metropolitan Police Department radios,
          which may be of some assistance in identifying officers whose body-worn-cameras
          were recording at a particular time and location.

        I will forward additional discovery as it becomes available. If you have any questions,
please feel free to contact me.

                                                     Sincerely,



                                                     Benet J. Kearney
                                                     Assistant United States Attorney




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